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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                        :      Chapter 11
                                                         :
Fuse, LLC, et al.,                                       :      Case No. 19-10872(KG)
                                                         :
                                                         :      Jointly Administered
          Debtor(s).                                     :      NOTICE OF APPOINTMENT OF
----------------------------------                              COMMITTEE OF
                                                         :      UNSECURED CREDITORS

                                                         :
                                                         :


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:


1.                 Association of National Advertisers, Attn: Christine Manna, 708 Third Ave, New York,
                   NY 10017, Phone: 212-455-8060

2.                 Showtime Networks, Inc., Attn: Kent Sevener, 1633 Broadway, New York, NY 10019,
                   Phone: 212-708-3259

3.                 MGM Domestic Television Distribution, LLC, Attn: Shirley Hairston, 245 North Beverly
                   Drive, Beverly Hills, CA 90210, Phone: 310-586-8244




                                                 ANDREW R. VARA
                                                 Acting United States Trustee, Region 3


                                                 /s/ Linda Casey for
                                                 T. PATRICK TINKER
                                                 ASSISTANT UNITED STATES TRUSTEE

DATED: May 10, 2019

Attorney assigned to this Case: Linda Casey, Esquire, Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: James E. O’Neill, Esquire, Phone: (302) 652-4100, Fax: (302) 652-4400




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